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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

In re: GARY E PETTIFORD                     §       Case No. 16-11924
                                            §
                                            §
             Debtor(s)                      §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Debra L. Miller, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was converted to chapter 13 on 03/24/2017.

       2) The plan was confirmed on NA.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was converted on 06/15/2017.

       6) Number of months from filing or conversion to last payment: 1.

       7) Number of months case was pending: 3.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $32,805.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have NOT cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)              $ 1,750.00
      Less amount refunded to debtor(s)                             $ 0.00
NET RECEIPTS                                                                        $ 1,750.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                        $ 0.00
       Court Costs                                                  $ 0.00
       Trustee Expenses & Compensation                              $ 0.00
       Other                                                   $ 1,750.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 1,750.00

Attorney fees paid and disclosed by debtor(s):                   $ 725.00



Scheduled Creditors:
Creditor                                          Claim       Claim       Claim     Principal    Interest
Name                               Class      Scheduled    Asserted    Allowed          Paid        Paid
MCLANE & MCLANE                    Lgl             0.00      725.00      725.00         0.00        0.00
AFENA CREDIT UNION                 Sec        40,599.88   40,308.14   40,308.14         0.00        0.00
DITECH                             Con        94,523.85         NA          NA          0.00        0.00
DITECH                             Sec             0.00         NA          NA          0.00        0.00
FORTRESS FEDERAL CREDIT            Sec        12,049.00         NA          NA          0.00        0.00
RIVERSIDE CREDIT UNION             Sec        14,000.00         NA          NA          0.00        0.00
AFENA CREDIT UNION                 Uns         1,812.00    1,898.62    1,898.62         0.00        0.00
BARCLAY CARD                       Uns         2,800.90         NA          NA          0.00        0.00
CAPITAL ONE BANK (USA) NA BY       Uns           890.65    1,020.04    1,020.04         0.00        0.00
CAPITAL ONE BANK (USA) NA BY       Uns           827.63      932.41      932.41         0.00        0.00
COMMUNITY HOWARD REGIONAL          Uns           100.00         NA          NA          0.00        0.00
CREDIT ONE BANK                    Uns           982.00         NA          NA          0.00        0.00
DIRECTV, LLC BY AMERICAN           Uns           250.60      250.60      250.60         0.00        0.00
DISH NETWORK                       Uns           700.00         NA          NA          0.00        0.00
FINGERHUT                          Uns         2,119.77         NA          NA          0.00        0.00
FORTRESS FEDERAL CREDIT            Uns        12,049.00   12,573.96   12,573.96         0.00        0.00
QUANTUM3 GROUP LLC AS AGENT        Uns         1,645.00    1,775.94    1,775.94         0.00        0.00
GOODYEAR                           Uns         1,563.20         NA          NA          0.00        0.00



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Scheduled Creditors:
Creditor                                         Claim       Claim       Claim     Principal   Interest
Name                              Class      Scheduled    Asserted    Allowed          Paid       Paid
LENDING CLUB CORP                 Uns        33,250.00         NA          NA          0.00       0.00
LINCARE                           Uns            79.65         NA          NA          0.00       0.00
MEDICAL COMPRESSION SYSTEMS       Uns           199.00         NA          NA          0.00       0.00
COMENITY CAPITAL BANK/PAYPAL      Uns         3,473.00    3,680.03    3,680.03         0.00       0.00
PERSONAL FINANCE CO               Uns         7,525.00    6,570.29    6,570.29         0.00       0.00
PROSPER                           Uns        20,000.00         NA          NA          0.00       0.00
ENCORE RECEIVABLE                 Uns         1,097.00         NA          NA          0.00       0.00
ENCORE RECEIVABLE                 Uns         4,591.00         NA          NA          0.00       0.00
PORTFOLIO RECOVERY                Uns         4,408.62    4,509.03    4,509.03         0.00       0.00
ENCORE RECEIVABLE                 Uns         2,175.00         NA          NA          0.00       0.00
PORTFOLIO RECOVERY                Uns         1,860.00    2,046.71    2,046.71         0.00       0.00
PORTFOLIO RECOVERY                Uns           682.00      782.27      782.27         0.00       0.00
PORTFOLIO RECOVERY                Uns         1,553.93    1,696.83    1,696.83         0.00       0.00
AMERICAN INFOSOURCE AS            Uns         3,650.00    2,012.86    2,012.86         0.00       0.00
REAL TIME RESOLUTIONS             Con             0.00   72,071.00        0.00         0.00       0.00
REAL TIME RESOLUTIONS             Sec             0.00      660.00        0.00         0.00       0.00
PYOD LLC AS ASSIGNEE OF           Uns             0.00    1,818.12    1,818.12         0.00       0.00
PORTFOLIO RECOVERY                Uns             0.00    1,350.61    1,350.61         0.00       0.00
PORTFOLIO RECOVERY                Uns             0.00    4,670.57    4,670.57         0.00       0.00
PORTFOLIO RECOVERY                Uns             0.00    2,250.06    2,250.06         0.00       0.00
FORTRESS FEDERAL CREDIT           Uns             0.00   13,043.45   13,043.45         0.00       0.00
TRUSTEE MARTIN SEIFERT            Adm             0.00    1,750.00    1,750.00     1,750.00       0.00




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Summary of Disbursements to Creditors:

                                              Claim               Principal    Interest
                                              Allowed             Paid         Paid
Secured Payments:
      Mortgage Ongoing                              $ 0.00            $ 0.00       $ 0.00
      Mortgage Arrearage                            $ 0.00            $ 0.00       $ 0.00
      Debt Secured by Vehicle                 $ 40,308.14             $ 0.00       $ 0.00
      All Other Secured                             $ 0.00            $ 0.00       $ 0.00
TOTAL SECURED:                                $ 40,308.14             $ 0.00       $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                 $ 0.00             $ 0.00       $ 0.00
        Domestic Support Ongoing                   $ 0.00             $ 0.00       $ 0.00
        All Other Priority                         $ 0.00             $ 0.00       $ 0.00
TOTAL PRIORITY:                                    $ 0.00             $ 0.00       $ 0.00

GENERAL UNSECURED PAYMENTS:                   $ 62,882.40             $ 0.00       $ 0.00



Disbursements:

       Expenses of Administration              $ 1,750.00
       Disbursements to Creditors                   $ 0.00

TOTAL DISBURSEMENTS:                                              $ 1,750.00




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       12) The Trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests that the Trustee be discharged and granted such other relief as may be just and proper.




Date: 07/12/2017                        By: /s/ Debra L. Miller
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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